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UNITED STATES DISTRICT COURT . UBT,

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William Holmes: a
DOCKET # =
ACTION TO QUIET TITEE
ON PROPERTY IN THIS ACTION.

Plaintiff, AND FOR INJUNCTIVE RELIEF @
OTHER RELIEF

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CALIBER HOME LOANS, INC.
EDWARD C. KLIEN, ESQ

a cv 03344
LESLIE A. BAUM
THEODORE SCHROEDER . - :

JAMES V. BRANDS
LARRY SPANGLER

PROPERTY:
JOHN/JANE DOES .

7 BRIAN ROAD
WAPPINGER FALLS, NY 12590
BLOCK: 02 LOT: 962852

Defendants.

~ : xX Dute hess County

CIVIL COMPLAINT

PRELIMINARY STATEMENT JUDGE KARAS

(Unconstitutional theft of proprietary interest in plaintiff's property under color of law;
violation of established Constitutional principles of law GOVERNING THE
PAYMENT OF ALL DEBT AT LAW; violation of established United States
Congressional Laws GOVERNING THE DISCHARGE OF PROMISSORY
NOTES, MORTGAGES, AND BONDS HELD BY A FEDERALLY
CHARTERED DEPOSITORY INSTITUTION since 1934 by CALIBER HOME
LOANS, INC., EDWARD C. KLIEN, COHN & ROTH, LESLIE A. BAUM,
THEODORE SCHRODER, JAMES V. BRANDS, LARRY SPANGLER, under
color of Authority TO ENRICH THEMSELVES AND VIOLENTLY DEPRIVE
PLAINTIFF TITLE AND PEACEFUL ENJOYMENT OF HIS PRIVATE

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PROPERTY; unlawful, unconscionable and violent termination of plaintiff's
property rights and interests in the property in this action; contumacious refusal by
defendant LESLIE A. BAUM to obey the settled monetary Laws of the United
States as established by the United States Congress in their lawful authority AND

CAPACITY)

1. Plaintiff repeats and realleges foregoing paragraph one

2. This is an action for injunctive and declaratory relief under 42 U.S.C
1982, AND ARTICLE 15 OF NEW YORK STATE REAL PROPERTY
LAW seeking an order and award of punitive damages AND TO QUIET
TITLE against THE NAMED DEFENDANTS, TO WIT, CALIBER
HOME LOANS, INC., EDWARD C, KLIEN, COHN & ROTH,
LESLIE A. BAUM, THEODORE SCHRODER, JAMES V. BRANDS,
LARRY SPANGLER FOR JOINING TOGETHER TO violently
terminate plaintiff's de jure property rights protected in the original
United States Constitution UNDER COLOR OF LAW AND
AUTHORITY WITHOUT DUE PROCESS, contumacious BAD FAITH
DEALING, AND continuing INTENTIONAL VIOLATION OF
ESTBALISHED FEDERAL LAWS AND PRECEDENTS FOUND AT

PUBLIC LAW: CHAP. 48, 48 STAT. 112, 12 USC 95A(2), 18

U.S.C. 8, SEC 8, UCC 3-104, 3-106, 3-603 (a)(b)(c), 12 U.S.C. 411,

Norman v. Baltimore & Ohio Railroad Co., 294 U.S. 240 (1935).

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3. Plaintiff respectfully alleges that the said arbitrary dispossession of
plaintiffs property rights by DEFENDANTS CALIBER HOME

LOANS, INC., EDWARD C. KLIEN, COHN & ROTH, LESLIE A.
BAUM, THEODORE SCHRODER, JAMES V. BRANDS, LARRY
SPANGLER remains continuous, unconscionable causing continuing
and immediate irreparable damages against him and denying him his
guaranteed substantive due process right to the peaceful en oyment of
his private property and as such they must be enjoined and their actions
declared null and void by this court in conformity with public policy and
preservation of status quo.

JURY DEMAND

4, Plaintiff demands a trial by Jury for each and every one of his claims
pursuant to Federal Rules of Civil Proceedings 38(a) and (b).

FACTUAL ALLEGATIONS

5. The Property (“Property”) in this complaint is located at 7 Brian Rd, in

Wappingers Falls, Wéest-restes County , State of New York, the legal
But chess

description of which is: 7 Brian Rd, Wappingers Falls, NY 12590,

identified as BLOCK: 02, LOT: 962852, in Westehester. County, State of
ntoher
New York.

s/

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- Plaintiff retains and has unalienable ownership and proprietary interests

in the said property identified in paragraph 5 above.

Plaintiffs ownership interest is derived from a properly executed DEED
recorded on FILE at the WESTCHESTER COUNTY CLERK'S
OFFICE [Copy of said DEED is attached herein as exhibit A]

On or about the year 2015, plaintiff became aware of a certain civil
action that pretended to be a foreclosure complaint FILED BY

DEFENDANTS, DEFENDANTS CALIBER HOME LOANS, INC.,

EDWARD C. KLIEN, COHN & ROTH, LESLIE A. BAUM,

THEODORE SCHRODER in which THE defendants alleged that he
owed the sum of $276,346.54, TO DEFENDANT CALIBER HOME
LOANS INC., but refusing to truthfully assert the true nature of the
alleged "debt" including, but not limited to, whether it was created
pursuant to the DEBIT/CREDIT accounting principles found in
Generally Accepted Accounting Principles (GAAP), which the BANK
WAS MANDATED TO FOLLOW.

Without prejudice, ill will or admission of wrong doing bearing in mind
that THE CLAIMS BY DEFENDANTS WERE ARBITRARY, and -
fictitious but potentially violent in its character, plaintiff ISSUED A

TENDER OF PAYMENT on or about 6/7/ 2015, to THE ORDER OF

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CALIBER HOME LOANS INC, WITHOUT RECOURSE AS HE
SHOULD pursuant to settled principles of law in existence since 1934.
which must settle and discharge the alleged claims.

BUT, rather than follow the law, defendants INPURE BAD FAITH
AND MALICE, retained the TENDER PAYMENT, NEVER
REJECTED, but then continued the malicious foreclosure process for
which they knew they lacked ARTICLE 3 PRUDENTIAL STANDING
TO BRING TO A STATE COURT FOR FALSE REMEDIES,

THE SAIDE DEFENDANTS JOINED WITH EACH OTHER TO
assiduously and unlawfully AUCTION plaintiff's private property
with the intention to unlawfully enrich themselves and each other.
The said defendants, CALIBER HOME LOANS, INC., EDWARD C.

KLIEN, COHN & ROTH, LESLIE A. BAUM, THEODORE

- SCHRODER, JAMES V. BRANDS, LARRY SPANGLER have

REFUSED to issue a release surrendering the dubious LIEN THEY

HAVE PLACED ON THE PROPERTY IN THIS ACTION
THEREBY CLOUDING its title and irreparably damaging
plaintiff

DISCLAIMER: The plaintiff respectfully asserts to this Honorable

Court that in outlining the narrative in this action, he does not intend and

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14,

15.

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neither is he implying in any manner or fashion that he is asking this
Court to review the conclusions of any other STATE court found in

NEW YORK STATE regarding the causes of action herein, therefore

_any such allegations will constitute unclean hands and bad faith dealing

and must be rejected out rightly.

DEFENDANTS, CALIBER HOME LOANS, INC., EDWARD C.
KLIEN, COHN & ROTH, LESLIE A, BAUM, THEODORE
SCHRODER, JAMES V. BRANDS, LARRY SPANGLER HAVE
JOINED TOGETHER TO AGREE AND ASSERT THAT THAT
THE FOLLOWING UNITED STATES LAWS AND US SUPREME

COURT PRECEDENTS, TO WIT, PUBLIC LAW: CHAP. 48, 48

STAT, 112, 12 USC 95A(2), 18 U.S.C. 8, SEC 8, UCC 3-104, 3-106,

3-603 (a)(b)(c), 12 U.S.C. 411, AND THE UNITED STATES

SUPREME COURT PRECEDENT FOUND AT, Norman v.

Baltimore & Ohio Railroad Co., 294 U.S. 240 (1935), ARE FALSE

AND DO NOT EXIST AND NEVER ENACTED BY THE U.S.
CONGRESS or decided by The U.S. SUPREME COURT.

Claim for Relief

Plaintiff incorporates by reference each and every allegation contained

in the preceding paragraphs as if set forth fully herein.

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‘16.

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19,

Wherefore said defendants acted willfully, unlawfully and illegally and |

therefore violated Federal Statutes at 42 U.S.C'1982 and New York

State Law at Real Property Actions and Proceeding Law (“RPAPL”)
§853, by acting in unison to ignore and repudiate THE LAWS OF THE |
UNITED STATES OF AMERICA claiming THEY DO NOT EXIST,
and sufficient in effect to cause an injunctive, declaratory, and punitive
relief voiding any and all claims they have illegally and unlawfully
retained in the property in this action, in other to bring partial relief to
the incalculable losses suffered by plaintiff, including but not limited to
emotional stress, continuing anxiety and economic uncertainty.
Plaintiff respectfully requests that the court declare that the defendants’
actions constituted violent SELF-HELP illegal eviction, invasion,
unbridled destruction of private property, which appear to be
unconscionable and malicious in nature and therefore violative of both
Federal and State Laws.

Plaintiff seeks monetary damages of ten million dollars ($10 million
dollars) as compensatory damages against ali named defendants
herein.

Plaintiff respectfully requests the court to declare that ALL

NAMED DEFENDANTS DO NOT RETAIN ANY INTERESTS,

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CLAIMS, TITLES or emoluments in the property in this action and
as such plaintiff has an unalienable right to remain in peaceful
occupation of the property.

20. Plaintiffs pray this court to award such other relief including reasonable
court costs as it may deem proper.

DATED: May 2, 2016

Wappingers Falls, New York a Dk
By: DLE

William Holmes, All Rights Reserved
7 BRIAN RD, WAPPINGERS FALLS,
NY 12590

Notary Public - State of New York
NO. 01C06332984
Qualified in Bronx County
My Commission Explras Nov 16,2019 .

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NOTARY VERIFICATION
On this day, May 4 2016 personally came before me William Holmes who proved his
identity to me to my satisfaction and acknowledged his signature in my presence under the

complete authority and Trust in his private Sacred Religious Convictions only, and held

harmless at all times.

Declarant

ee

Willktam Holmes, All Rights Reserved
7 BRIAN RD, WAPPINGERS FALLS,

NY 12590

BEFORE ME, Wrenn S. Adlai St

LETISHA COHEN
Notary Pubile - State of Naw York
NO. 010606332984
Qualitied In Bronx County
My Commission Expires Rov 16,2019 -

NEW YORK NOTARY PUBLIC

MY COMMISSION EXPIRES ON hehe

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TO DEFENDANTS:

_ LARRY SPANGLER

CHIEF FINANCIAL OFFICER,
CALIBER HOME LOANS, INC.

C/O :

13801 WIRELESS WAY.”
‘OKLAHOMA CITY, OKLAHOMA 73134

CALIBER HOME LOANS INC
3701 REGENT BLVD

STE 200

IRVING, TX 75063

LESLIE A. BAUM
COURT APPOINTED REFEREE.
PO-BOX 706 6
WALDEN, NY 12586 ”

EDWARD C. KLIEN, ESQ 4
COHN & ROTH

100 EAST OLD COUNTRY ROAD

MINEOLA, NY 11501

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_ UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

----X
William Holmes.
DOCKET #
NOTICE OF PENDENCY
Plaintiff,
CALEBER HOME LOANS, INC.
EDWARD C. KLIEN, ESQ
. COHN & ROTH
LESLIE A. BAUM
THEODORE SCHROEDER
JAMES V. BRANDS
LARRY SPANGLER PROPERTY:
JOHN/JANE DOES. 7 BRIAN ROAD
WAPPINGER FALLS, NY 12590
BLOCK: 02 LOT; 962852
Defendants. AVESFCHESEER COUNTY, NY

Dutchess

Notice is hereby given that an action has been commenced and is now pending in this
court, upon the compalint of the above-named Plaintiff, William Holmes, against the
above-named defendants: CALIBER HOME LOANS, INC., EDWARD C. KLIEN,
COHN & ROTH, LESLIE A. BAUM, THEODORE SCHRODER, JAMES V. BRANDS,
LARRY SPAN GLER, JOHN/JANE DOES from one to infinity, such entities or persons
being unknown at this time to plaintiff but who may have legal claims against property
capable of clouding title.

The object of the action is to obtain judgment against defendants quieting title to the

property in this action, to wit, at 7 Brian Rd, in Wappingers Falls, WestchesterCounty ,
Dutchess

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12.
State of New York, and returning plaintiff to a peaceful enjoyment of his lawful private

property.
The real property affected by said action is described as follows: The Property

(“Property”) in this complaint is located at 7 Brian Rd, Wappingers Falls, NY 12590,

identified as BLOCK: 02, LOT: 962852, in Botner County, State of New York.
utchess

DATED: May 2, 2016

Wappingers Falls, New York Who
, By: the,

‘William Holmes, All Rights Reserved
7 BRIAN RD, WAPPINGERS FALLS,

ff) NY 12590
tect
Zoo
-— \SETEHA COHEN
Notary Public - State of New York
NO. 61606392984
Quallfied in Bronx County
My Commission Expires Nov 18, 2049

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TO THE CLERK OF THE COUNTY OF WESTCHESTER:

You are hereby directed to index the within notice to the names of each of the following
plaintiffs and defendants: Plaintiff, William Holmes, against the above-named defendants:
CALIBER HOME LOANS, INC, EDWARD C. KLIEN, COHN & ROTH, LESLIE A.
BAUM, THEODORE SCHRODER, JAMES V. BRANDS, LARRY SPANGLER,
JOHN/JANE DOES from one to infinity, such entities or persons being unknown at this
time to plaintiff but who may have legal claims against property capable of clouding
title.

The number of cach block on the land map of King's County which is affected by this
_hotice is hereby designated as follows: BLOCK: 02, LOT: 962852, in Repent

. Dut chess
State of New York.
DATED: May 2, 2016

Wappingers Falls, New York Bio
sO By: LEE. ‘

“William Holmes, All Rights Reserved
7 BRIAN RD, WYAPPINGERS FALLS,
"NY 12590

a COnEN
Notary Public - State of New York

NO. 01606332984
Qualified in Bronx County
My Commission Expires Nov 16, 2019

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Schedule A Description

Title Number HN 38384 . / Page 1

EG/ET

ALL that certain plot, piece or parcel of land, with the buildings and
improvements thereon erected, situate, lying and being in the Town of
Poughkeepsie, County of Dutchess and State of New York, being designated as
Lot No. 8, Block D, on a certain map entitled, "Revised Map of Sharon Heights,
Town of Poughkeepsie, Dutchess County, NY" made by M. Chazen, P. E. and L.

S., filed July 6, 1956 in the Office of the Dutchess County Clerk as Filed Map No.

2691, being bounded and described as follows:

BEGINNING at a point in the Northerly Line of Brian Read, which point of
beginning is at the Southeast corner of said Lot No. 7, Block D, and the
Southwest corner of Lot No. 6, Block D:

THENCE from said point of beginning Westerly along the Northerly Jine of Brian
Road, on a curve having a radius of 550 feet, a distance of 87.12 feet toa point:

THENCE continuing Westerly along the Northerly line of Brian Road, South 81
degrees 59 minutes 50 seconds 14.20 feet to a point;

THENCE, North 08 degrees 00 minutes 10 seconds West, 60.00 feet to a point,
THENCE North 00 degrees 31 minutes 20 seconds West, 109.08 feet to a point:
THENCE South 85 degrees. 16 minutes 50 seconds West, 113.50 feet to a point;

THENCE South 01 degrees 04 minutes 20 seconds West, 151.94 feet to a point
in the North line of Brian Road, .the point or place of BEGINNING.

Premises known as 7 Brian Road, Wappingers Falls, New York

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